Case 1:19-mc-00061-UNA Document 1 Filed 05/01/19 Page 1 of 5

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vIA EMAIL To LEGAL@CLOUDFLARE.COM
May 1, 2019

Justin Paine

Cloudflare, Inc.

101 Townsend Street
Legal Department

San Francisco, CA 94107

Dear Mr. Paine:

I am contacting you on behalf of the Recording Industry Association of America, Inc.
(RIAA) and its member record companies The RIAA is a trade association whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States.

We have determined that users of your system or network have infringed our member
record companies’ copyrighted sound recordings

Enclosed is a subpoena compliant With the Digital Millennium Copyright Act. The
subpoena requires that you provide the RIAA With information concerning the individuals
offering infringing material described in the attached notice.

As is stated in the attached subpoena, you are required to disclose to the RIAA
information sufficient to identify the infringers. This Would include the individuals’
names, physical addresses, IP addresses, telephone numbers, e-mail addresses, payment
information, account updates and account history.

If you have any questions please feel free to contact me via email at antipiracy@riaa.com,
via telephone at (202) 775-0101, or via mail at RIAA, 1025 F Street N.W., lOth Floor,
Washington, D.C., 20004.

sincerely, l g _

Mark McDevitt
Vice President, Online Anti-Piracy

‘Y~

RECURDING INDU$TR}’ ASSUCIATIDN UF AMERIEA
1025 F STREET, NW, 10TH FLOOR, WASHINGTON, DC 20004
PHONE: 202.775 0101 FAX: 202.775.7253 WEB:WWW.riaa.com

Case 1:19-mc-00061-UNA Document 1 Filed 05/01/19 Page 2 of 5

UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA

RECORDING INDUSTRY ASSOCIATION
OF AMERICA, INC.

Case Number:

Plaintiff, DECLARATION OF MARK McDEVITT

IN SUPPORT OF ISSUANCE OF

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VS.
) sUBPoENA PURSUANT To 17 U.s.C §
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CLOUDFLARE, INC. 512(h)

Defendant.

 

I, MARK McDEVITT, the undersigned, declare that:

l. I am a Vice President, Online Anti-Piracy for the Recording Industry Association of
America, Inc. (RIAA). The RIAA is a trade association whose member companies create,
manufacture or distribute sound recordings. The RIAA is authorized to act on its member
companies’ behalf on matters involving the infringement of their copyrighted video and sound
recordings

2. The RIAA is requesting the attached proposed subpoena that would order Cloudflare, Inc.
to disclose the identities, including names, physical addresses, IP addresses, telephone numbers,
e-mail addresses, payment information, account updates and account histories of the users
operating the following websites:

https://dbr.ee/ASPR
https://dbree.org/v/bafDSZ
http://rgf.life/albums/S7096-schoolboy-q-crash-talk

http://rgf.is/albums/S7093-p-nk-hurts-2b-human

Case 1:19-mc-00061-UNA Document 1 Filed 05/01/19 Page 3 of 5

https://ayef`lles.com/imox93bOSkoa

https://Www.pluspremieres.nz/ZO l9/04/taylor-swift-me-feat-brendon-urie-of.htm120 19/04/taylor-
swift-me-feat-brendon-urie-of.html

3. The purpose for which this subpoena is sought is to obtain the identities of the individuals
assigned to these websites who _have reproduced and have offered for distribution our members’
copyrighted sound recordings without their authorization This information will only be used for
the purposes of protecting the rights granted to our members, the sound recording copyright
owner, under Title II of the Digital Millennium Copyright Act.

I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct to the best of my knowledge, information or belief.
Executed at Washington, District of Columbia, on May 1, 2019.

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Mark McDevitt

     

 

Case 1:19-mc-00061-UNA Document 1 Filed 05/01/19 Page 4 of 5

   

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VIA EMAIL TO LEGALr’&`-'CLOUDFLARE.COM
May l , 2019

Justin Paine

Cloudflare, Inc.

101 Townsend Street
Legal Department

San Francisco, CA 94107

Dear Mr. Paine:

l am contacting you on behalf of the Recording Industry Association of America, Inc.
(RIAA) and its member record companies The RIAA is a trade association whose
member companies create, manufacture and distribute approximately eighty-five (85)
percent of all legitimate sound recordings sold in the United States. Under penalty of
perjury, we submit that the RIAA is authorized to act on behalf of its member companies
on matters involving the infringement of their sound recordings, audiovisual works and
images, including enforcing their copyrights and common law rights on the Internet.

We have learned that your service is hosting the below-referenced websites on its
network. These websites are offering recordings which are owned by one or more of our
member companies and have not been authorized for this kind of use, including without
limitation that referenced at the URLs below. We have a good faith belief that this
activity is not authorized by the copyright owner, its agent, or the law. We assert that the
information in this notification is accurate, based upon the data available to us.

We ask that you consider the widespread and repeated infringing nature of the site
operators' conduct, and whether the sites' activities violate your terms of service and/or
your company's repeat infringer policy.

This e-mail does not constitute a waiver of any right to recover damages incurred by
virtue of any such unauthorized activities, and such rights as well as claims for other
relief are expressly retained. In addition, our use of your service’s required notice form, if
applicable, is merely meant to facilitate removal of the infringing material listed below

RECURD!NG INDUSTR¥ASSDCIATIDN 0FAMERI¢.`A
1025 F STREET, NW, 10TH FLOOR, WASHINGTON, DC 20004
PHONE: 202.775.0101 FAX: 202 775.7253 WEB: www.riaa.com

Case 1:19-mc-00061-UNA Document 1 Filed 05/01/19 Page 5 of 5

and is not meant to suggest or imply that your activities and services are within the scope
of the DMCA safe harbor.

You may contact me at RIAA, 1025 F Street N.W., 10th Floor, Washington, D.C., 20004,
Tel. (202) 775-0101, or e-mail antigiracv[a§riaa.com, to discuss this notice.

Sineerely,

Mark McDevitt
Vice President, Online Anti-Piracy

 

https://dbr.ee/ASPR
Bl`g Sean - Emotional

https://dbree.org/v/baf952
Drake ~ Not Nl`ce

http://rgf.life/albums/S 7096-schoolboy-q-crash-talk
Schoolboy Q - Crash Talk

http://rgf.is/albums/57093 -p-nk-hurts-Zb-human
Pz'nk - Hurts 2B Human

https://ayefiles.com/imox93b0skoa
Pink _ Hurts 2B Human

https://https://www.pluspremieres.nz/Z0 19/04/taylor-swift-me-feat-brendon-urie-
of.htm120 l 9/04/taylor-swift-me-feat~brendon-urie-of.html
Taylor Swl`ftfeat. Brena'on Urz'e - Me!

